Case 3:22-cv-00294-HTW-LGI               Document 151-21           Filed 08/11/23      Page 1 of 16
                                                                                                EXHIBIT 21


    V-AW-57,i-V-j-MPT-is:, -49                                                Page 1 of 14
    --,
                             1 EAST MISSISSIPPI
                                                                              POST
                                                                                     AcuteTITLE:
z- ftflTt• CORRECTIONAL                                                       Unit 7          Care
R.                                                                            Unit
Fa                              ,. FACILITY                                   SITE LOCATION:
                               -, POST ORDERS                                 East Mississippi
t-':t1.ttf:Xtitgr4:-A6---BgEdicso                                             Correctional Facility


    POST ORDERS #24                           ACA PRACTICE(S): 5-AC1-3A-03,
                                              5-AC1-3A-04, 5-AC1-3A-05, 5-ACI-3A-06,
    EFFECTIVE DATE: 12-10-20                  5-AC1-3A-08, 5-ACI-3A-09

    REVIEW DATE: 12-10-20



I        1GENERAL INSTRUCTIONS:

         This-Post Order cites specific and general instructions for the operation of this post
         assignment. However, every incident or eventuality cannot be covered. You are
         expected to contribute to the BIONIC (Believe it Or Not I Care) culture and the overall
         operational philosophy that prepares inmates for successful reentry which is referred to
         as Success For Life®. You are expected to use good judgment, tact and pay careful
         attention to details in discharging your duties even where not specifically referenced in
         the Post Orders. The Shift Commander will be responsible for any problems or
         questions, which may arise while performing duties assigned to this post. You must
         remain alert at all times. The Officer shall comply with Management & Training
         Corporation policies relating to Dress and Grooming standards and general Standards of
         professional conduct All 8..affii.i.Oking:.in!isWg•otkK)Olf14•Oquired]to';NVe:iberital
         health training

11       POST ASSUMPTION AND LOG-1N PROCESURES:

         The ACUTE CARE UNIT OFFICER POST shall be manned at all times when staffing is
         adequate. You will clock in and proceed to your assigned post.

         A   Upon arrival, conduct a Certified Body Count according to MTC count procedures.

         B   Ensure that the certified count is called into the Central Control Room and also
             recorded in the Housing Control log.

         C   Record the count in the log book.

         D   Inventory and sign for all keys and equipment assigned to the post and record in the
             log leaving no blank spaces, document all discrepancies.

         E   Test handheld radio/telephone, control panels for proper functioning, and document
             all discrepancies.

         F   Receive a briefing of all information from the officer being relieved.




                                                                                      MTC 001468
Case 3:22-cv-00294-HTW-LGI             Document 151-21          Filed 08/11/23       Page 2 of 16



                                                                          Page 2 of 14
                       EAST MISSISSIPPI
                                                                          POST TITLE:
                        CORRECTIONAL                                      Unit 7 Acute Care
                                                                          Unit
                    :::' FACILITY
                                                                          SITE LOCATION:
                       POST ORDERS                                        East Mississippi
                F
                                                                          Correcflonal Facility


  POST ORDERS #24                          ACA PRACTICE(S): 5-ACI-3A-03,
                                           5-ACI-3A-04, 5-ACI-3A-05, 5-ACI-3A-06,
  EFFECTIVE DATE: 12-10-20                 5-ACI-3A-08, 5-ACI-3A-09

  REVIEW DATE: 12-10-20


      G Review Housing Control log to determine the activitles of the previous shifts.

      H   Initiate Log/Register.

      l   If chemicals are issuecl, Central Control &kers will check on-coming officer
          Chemical Card and expiration date.

          lnspect all fire extinguishers to insure they are fully charged. Any empty fire
          extinguishers are to be reported to the shift commander imrnediately.

      K Conduct 30 minute rounds at an irregular interval to ensure offender safety and well
        being.

Ifl   AREA OF RESPONSIBILITY:

      A Conduct counts in accordance with MTC and MDOC policy.

      B   Escort all Non-Security Personnel entering the zones.

      C Conduct a security and building inspection documenting discrepancies on the Daily
        Inspection Log and in the Log Book.

      D Complete the daily housekeeping and sanitation requirements.

IV    CONTROL OF ENTRANCE AND EXIT POINTS:

      A Control of all housing zone doors.

V     PROCEDURES GOVERNING MOVEMENT OF OFFENDERS:

      A   Ensure that all Offenders are secured prior to entering and exiting building or sectlon
          yard according to procedures.

      B   Prior to departing the building, the inmate Ml leave I.D card with the hall Officer.
          Upori returning to the building, inmates will retrieve I,D, card,




                                                                                   MTC 001469
Case 3:22-cv-00294-HTW-LGI             Document 151-21           Filed 08/11/23       Page 3 of 16



                                                                           Page 3 of 14
                    ti EAST MISSISSIPPI
                    II CORRECTIONAL                                        POST TITLE:
                                                                           Unit 7 Acute Care
                        FACILITY                                           Unit
                                                                           SITE LOCATION:
                        POST ORDERS                                        East Mississippi
                                                                           Correctional Facility


  POST ORDERS #24                           ACA PRACTICE(S): 5-ACI-3A-03,
                                            5-ACI-3A-04, 5-ACI-3A-05, 5-ACI-3A-06,
  EFFECTIVE DATE: 12-10-20                  5-ACI-3A-08, 5-ACI-3A-09

 REVIEW DATE: 12-10-20


       C Ensure that inmates are properly dressed and Grooming Standards upheld prior to
         leaving the building.

       D   Inmates leaving the unit because they are involved in an altercation, attempted
           escape or other related incidents will be restrained according to procedures,

VI     ALARM PROCEDURES:

       In the event of an activated fire alarm, you shall report to the location to investigate and
       evaluate. Notify the Housing Control Officer and Shift Captain explaining the situation so
       it can be corrected. In case of malfunction, report it to the Shift Captain and Control then
       reset the alarm system. Make the appropriate notation in the Log Book.

VII    ESCORT PROCEDURES:

       A   Ensure proper documentation is presented approving all offender movement.

       B   Ensure Offenders are searched and restrained according to procedures.

       C   Ensure movement is recorded in the Log Book.

       D   Ensure movement procedures are followed in accordance with IVITC Policy and
           Procedures.

       E   Ensure they are escorted to their destination according to procedures.

VIII   ESCORT PROCEDURES FOR LONG-TERM SEGREATION OFFENDERS:

       A   Offender will be locked in his cell unless being escorted to recreation or shower.

       B   Offender will receive (5) days of recreation Monday through Friday, (I) hour each
           day.

       C   Offender will be given three showers a week,




                                                                                    MTC 001470
Case 3:22-cv-00294-HTW-LGI           Document 151-21          Filed 08/11/23        Page 4 of 16



                                                                        Page 4 of 14
                      EAST MISSISSIPPI
                                                                        POST TITLE:
                      CORRECTIONAL                                      Unit 7 Acute Care
                      FACILITY                                          Unit
                                                                        SITE LOCATION:
                      POST ORDERS                                       East Mississippi
                                                                        Correctional Facility


 POST ORDERS #24                         ACA PRACTICE(S): 5-AC1-3A-03,
                                         5-ACI-3A-04, 5-ACI-3A-05, 5-AC1-3A-06,
 EFFECTIVE DATE: 12-10-20                5-AC1-3A-08, 5-AC1-3A-09-

 REVIEW DATE: 12-10-20


     D Offender will be restrained (waist chain and leg irons) if escorted off the Unit.

     E   Offender will be restrained (waist Chain and leg irons) if being removed from his cell
         for treatment on the Unit.

IX   COUNT PROCEDURES:

     A Observe and conduct scheduled and unscheduled counts ensuring MTC Policies
       and Procedures are in compliance.

     B   Certified counts are conducted at 0700 hours, 2000 hours, 2300 hours

     C Formal counts are conducted at 1000hours, 1200 hours, 1400 hours, 1600 hours,
       1800 hours, 2200 hours, 2400 hours, 0100 hours, 0200 hours, 0300 hours, 0400
       hours, 0500 hours, and 0600 hours.

     D Counts are to be conducted as necessary when inmates are in the building for
       programmatic activities.

     E   No inmate movement will be allowed during the count process.

     F   Staff conducting the count must ensure that the offender(s) being counted are living,
         breathing, individuals.

     G Officers must allow nothing short of an emergency distract them during count
       procedure.

     H All Unit counts are reported to the Central Control Room and verified by the Central
       Control Room Officer.

     1   The Officers shall complete and ensure distribution of all necessary forms and
         documents.

     J   Officers shall follow the provided Acute Unit Schedule (see attachment).




                                                                                 MTC 001471
Case 3:22-cv-00294-HTW-LGI                    Document 151-21          Filed 08/11/23        Page 5 of 16



fervegRgk",11-4efk,-,,Aezei.
                                                                                    Page 5 of 14
                                       EAST MISSISSIPPI
                                                                                    POST TITLE:
                                       CORRECTIONAL                                 Unit 7 Acute Care
                                       FACILITY                                     Unit
                                                                                    SITE LOCATION:
    •
                                  •
        ;1.e.;7erle,M2Ma52:,,e,W-2,4
                                       POST ORDERS                                  East Mississippi
                                                                                    Correctional Facility


 POST ORDERS #24                                   ACA PRACTICE(S): 5-ACI-3A-03,
                                                   5-ACI-3A-04, 5-AC1-3A-05, 5-ACi-3A-06,
 EFFECTIVE DATE: 12-10-20                          5-ACI-3A-08, 5-ACI-3A-09

 REVIEW DATE: 12-10-20


X            KEY CONTROL PROCEDURES:

             A Obtain assigned keys from the officer being relieved. Ensure that keys are
               inventoried and the logis signed. Keys shall be in the possession of a staff member
               at all times. Discrepancies are immediately reported to the Shift Captain prior to
               assuming the key ring. An incident report and all applicable forms must be completed
               at that time.

             B All keys shall be controlled in accordance with MTC Key Control Policy

             C Offenders shall not be permitted access to your assigned keys at any time.

XI           TOOL CONTROL PROCEDURES:

            A Any tool received will be handled in accordance with MTC Tool Control Policy.

             B    Check the Tool Inventory Card attached to the toolboxes and/or pouches prior to
                  allowing inmates entry.

            C Ensure inmates are supervised while using Class "A" tools.

             D    Inspect and inventory tools prior to inmate departing building.

XII         COMMUNICATION PROCEDURES:

            A The handheld radio is the primary means of communication. It is essential that
              proper radio procedures be used when operating this equipment. You are to utilize
              the Incident Command System for Corrections and refrain from using profanity or
              "CB" Jargons. Sensitive and/or confidential information shall not be aired over the
              radio.

            B     The telephone is the secondary means of communication to be used for
                  communicating information relating to your task only. You are to follow established
                  telephone protocol during all communications.




                                                                                            MTC 001472
Case 3:22-cv-00294-HTW-LGI                  Document 151-21           Filed 08/11/23           Page 6 of 16


 .42"'       Ziegleig7z-z7e4e                                                    Page 6 of 14
                                 EAST MISSISSIPPI
                                                                                POST TITLE:
                                 CORRECTIONAL
                           -.4
                                                                                Unit 7 Acute Care
                                 FACILITY                                       Unit
                                                                                SITE LOCATION:
                                 POST ORDERS                                    East Mississippi
                                                                                Correctional Facility


 POST ORDERS #24                                 ACA PRACTICE(S): 5-ACI-3A-03,
                                                 5-AC1-3A-04, 5-ACI-3A-05, 5-ACI-3A-06,
 EFFECTIVE DATE: 12-10-20                        5-ACI-3A-08, 5-ACI-3A-09

 REVIEW DATE: 12-10-20


XIII     REPORTING DIFFICULTIES:

         A Any unusual circumstances occurring in or around your area of responsibility will be
           immediately reported to your Shift Captain, control room and other building staff.

         B You will submit a detailed Incident Report prior to being relieved.

XIV      FIREARMS, CHEMICALS, AGENTS, OR OTHER EMERGENCY EQUIPMENT:

         No Firearms or Chemicals are assigned to this post; however chemical agents are
         issued in cases of emergencies to certified staff in accordance with MTC Policies.

XV       EMERGENCY PROCEDURES SPECIFIC TO POST:

         A General:

              1 All emergency information will be called in to the Unit Sergeant, Shift Captain and
                Control Room Officer.

                 " h' floor officer assigned as n A-teamresponde
                                                  p 4eäfräfé
                                                                         wlf
                                                                                   '
                                                                                     d to
                  emergency situations
                  designated as '''                    .....................
                                                                       t6filain 011,4
                                                                                -s'P      earn
                                                                                               sta -

                           is called for At .response 'fforili7j!e9Iit ponse is called for t       team
                  responders      first bilsúfd that the unit is secure before reporting to
                  designated staging area

         B    Escape:

                   In the event of an escape/escape attempt, you will perform the following tasks:

                  a    Secure all entry and exit points of the building.

                  b    Ensure emergency count procedures are implemented.




                                                                                          MTC 001473
Case 3:22-cv-00294-HTW-LGI                 Document 151-21      Filed 08/11/23         Page 7 of 16



ipagti-„71.w`fk-1:1                                                        Page 7 of 14
                          :1 EAST MISSISSIPPI
idIVITC
-T
                          .72-;CORRECTIONAL
                          ' FACILITY
                                                                          POST TITLE:
                                                                          Unit 7 Acute Care
                                                                          Unit
                                                                          SITE LOCATION:
.c,. -                     -.7,,POST ORDERS
            -,-. ,., . sc..„                                              East Mississippi
                                                                          Correctional Facility


 POST ORDERS #24                              ACA PRACTICE(S): 5-ACI-3A-03,
                                              5-ACI-3A-04, 5-AC1-3A-05, 5-ACI-3A-06,
 EFFECTIVE DATE: 12-10-20                     5-ACI-3A-08, 5-AC1-3A-09

 REVIEW DATE: 12-10-20


                c   Remain on the post and await instructions from the Unit Sergeant and Shift
                    Captain.

         C Hostage/Riot Situation:

            1   Hostage situation in a Correctional setting poses a high potential for serious
                injury or death to staff members, inmates, and others involved. While different
                hostage situations dictate various tactics in negotiation and management, there
                are certain rules that apply to all hostage situations, These are as followed:

                a   Hostage takers shall not be granted freedom.

                b   Hostage takers shall not be provided with weapons,

                c   No hostage shall be exchanged.

                d   No hostage shall be added.

                e   ALL HOSTAGES lose their authority while being held hostage.

                f   Hostage takers shall not be given drugs or alcohol.

                g   Hostage takers shall not be granted immunity in a court of law.

            2   Should there be a hostage taken or a disturbance in your area of responsibility,
                the following will apply:

                a   Secure the Building.

                b   Call the Unit Sergeant, Shift Captain and Control Room Officer and advise
                    how many individuals are being held hostage, how many inmates are holding
                    the hostages, their whereabouts on the grounds, and the number and type of
                    weapons known or thought to be available to the inmates.




                                                                                      MTC 001474
Case 3:22-cv-00294-HTW-LGI                            Document 151-21            Filed 08/11/23        Page 8 of 16



IMI-?::-:Wg5-1-atM--44,z,                                                                    Page 8 of 14
ti5
-
fr,
•                                   --     EAST MISSISSIPPI
                                                                                             POST TITLE:
.,.s                                :-'3
                                     _. CORRECTIONAL                                         Unit 7 Acute Care
   ,                                                                                         Unit
                                     '1.' FACILITY
 -                                                                                           SITE LOCATION:
 -,_                                 -- POST ORDERS                                          East Mississippi
, --••--‘,--,-..---a,' .2V,`7,:i11,,,z.1
                                                                                             Correctional Facility


  POST ORDERS #24                                          ACA PRACTICE(S): 5-AC1-3A-03,
                                                           5-ACI-3A-04, 5-ACI-3A-05, 5-ACI-3A-06,
  EFFECTIVE DATE: 12-10-20                                 5-AC1-3A-08, 5-AC1-3A-09

  REVIEW DATE: 12-10-20


                          •      Enter in the Unit log book the time the incident started and other significant
                                 events pertinent to the situation.

                          d      Prevent anyone from exiting or entering the building until notified by the Shift
                                 Supervisor.

                          e      Be responsible for-operating all activities of your post.

                          f      Closely monitor your area and keep contact with your Unit Sergeant and Shift
                                 Captain.

                          g      Be alert for any attempt to breach the Security of your area. The hostage
                                 taking may be a ploy to affect an escape by other inmates.

             D D. FIRE:

                    '1 In the event of a fire, these procedures will be followed:

                          a      Notify the Central Control Officer, Shift Captain and other building staff stating
                                 the location and a brief description of the fire.

                          b      Attempt to extinguish or contain the fire to the area until help arrives.

                          •      In the event of an evacuation, evacuate all inmates and staff according to the
                                 Emergency Evacuation Plans.

                          d      Submit detailed report after the "all clear" signal is given.

             E TORNADO:

                    1 If it is clear that your post is in immediate danger of being struck by a tornado,
                      advise all persons to move to the inner most location of the building and lie face
                      down and cover your head. When time allows, use the Emergency Evacuation
                      Plan. Remain there until the all clear" signal has been given.




                                                                                                     MTC 001475
Case 3:22-cv-00294-HTW-LGI            Document 151-21          Filed 08/11/23      Page 9 of 16



            •-r•
                                                                         Page 9 of 14
g=±                  EAST MISSISSIPPI
                                                                         POST TITLE:
                     CORRECTIONAL                                        Unit 7 Acute Care
                     FACILITY                                            Unit
                                                                         SITE LOCATION:
,q4
                   j POST ORDERS                                         East Mississippi
                                                                         Correctional Facility


 POST ORDERS #24                          ACA PRACTICE(S): 5-AC1-3A-03,
                                          5-ACI-3A-04, 5-ACI-3A-05, 5-ACI-3A-06,
 EFFECTIVE DATE: 12-10-20                 5-AC1-3A-08, 5-AC1-3A-09

 REVIEW DATE: 12-10-20


XV. HOUSEKEEPINGISANITATION PROCEDURES:

      A The sanitation and orderliness of your Post/Building is the responsibility of the
        assigned officer(s).

      B   Ensure the hall, housing zones, storage room, janitorial room, mechanical room,
          desk and cabinets are neat, clean and organized at all times,

      C Supervise the inmates that are assigned as janitors, ensuring that floors, walls,
        appliances, windows, ceilings, vents are cleaned in accordance with
        sanitation/housekeeping regulations.

      D Inventory, account for and control cleaning supplies and equipment according to
        procedures daily.

      E Conduct and document housekeeping inspections ensuring living areas are in
        compliance.

      F   Ensure that trash is property bagged and removed to the appropriate location as
          scheduled,

      G Train offenders on the use of cleaning supplies and equipment as established by the
        manufacturer instructions, Train offenders on the use of Material Safety Data Sheets
        (MSDS) and ensure that the MSDS is onsite and current.

XVI   SAFETY PROCEDURES:

      A Staff shall adhere to applicable MTC Policy and Procedures to ensure a safe
        environment for themselves and offenders.

      B   Latex gloves are provided for staff safety when conducting pat downs and other
          germ-contracting procedures, Work place safety practices shall be followed at ALL
          times.

      C All accidents or injuries involving staff shall be reported to a supervisor immediately.




                                                                                  MTC 001476
Case 3:22-cv-00294-HTW-LGI             Document 151-21           Filed 08/11/23       Page 10 of 16



                                                                            Page 10 of 14
                        EAST MISSISSIPPI
                                                                            POST TITLE:
                        CORRECTIONAL                                        Unit 7 Acute Care
                        FACILITY                                            Unit
                                                                            SITE LOCATION:
                        POST ORDERS                                         East Mississippi
                                                                            Correctional Facility


 POST ORDERS #24                             ACA PRACTICE(S): 5-ACI-3A-03,
                                             5-ACI-3A-04, 5-ACI-3A-05, 5-ACI-3A-06,
 EFFECTIVE DATE: 12-10-20                    5-ACI-3A-08, 5-ACI-3A-09

 REVIEW DATE: 12-10-20


XVII. TEMPORARY ABSENCES:
       Temporary absences from this post shall be authorized by the Shift Captain.

XVII   SPECIAL POST ORDERS:

       A   Ensure that all offenders are secure on the zone and order is maintained.

       B   Notify the Shift Captain of all incidents occurring on the-zone. The Rousing Control
           Officer will coordinate with the Utility Officer ensuring the following is conducted in a
           timely manner:

           Wake-up call       Mail call               Gym call
           Breakfast call     Sick call               Canteen call
           Lunch call         Lock down call          Laundry call
           Dinner call        Yard call

       C Submit all appropriate documents and/or detailed Incident Reports as necessary.

       D Monitor offender's behavior and activities. Report unusual activities to the Unit
         Sergeant and Shift Captain.

       E   Conduct bar and window inspections. Report discrepancies immediately to Unit
           Sergeant, Shift Captain, and Central Control Room Staff. Ensure breeches of
           security are corrected immediately.

       F   Staff shall not exit their assigned work area/building without Unit Sergeant and Shift
           Commander approval after assuming a post inside the Correctional Facility
           perimeter,

       G EntrylExit posts staff shall not allow security staff to exit the work area/building after
         assuming a post except at conclusion of the shift or with authorization of the Shift
         Commander.




                                                                                     MTC 001477
Case 3:22-cv-00294-HTW-LGI                Document 151-21             Filed 08/11/23          Page 11 of 16



                                                                                  Page 11 of 14
,             EAST MISSISSIPPI
                                                                                  POST TITLE:
            . CORRECTIONAL                                                        Unit 7 Acute Care
r
                                                                                  Unit
k,
              FACILITY                                                            SITE LOCATION:
          sJ POST ORDERS
i44
                                                                                  East Mississippi
                                                                                  Correctional Facility


  POST ORDERS #24                              ACA PRACTICE(S): 5-ACI-3A-03,
                                               5-ACI-3A-04, 5-ACI-3A-05, 5-ACI-3A-0-6,
 EFFECTIVE DATE: 12-10-20                      5-ACI-3A-08, 5-ACI-3A-09

    REVIEW DATE: 12-10-20


                                                          aCili                                   e' at
                                                       staff search procedures .. .. ..be
                                                                                        followed..

                                    §::Coril, 009,                                  oor-10Cke
               ,p1n§       o ensure proper    workin                              logged  onto
             Init lock  66  oi form and  turned   mt    central control    0.0tP.M.WO.,41„
           wok' ctio.WiIU ereportedt ...Pj:§„,.1 .....commander immodiatel
              c .0leer assigned 0.,:_         .: p.:::00.1.09-:.m.,.-:;,'.::6-66 cid:,':14i...:0.1i'v Offi'.'.pat.;.:,0"6f:OliWO-
          '9.40i;10.0-:-: .9.i.O.:*i.:, ,..... 10.60.*.01.k . ::                j. _.•05.;000000: , fliiii. :staff
                                                                             .'...:00:9
                                                                              0..W..
                  sliifl
          each::!:i'      .1.1:06 ,. 1 El,i0i0,14.0-:',#* .60160..$p                          !drifOi:01-4,!!4'..jj0P000.0:;:::A
          figtOftur,i0lprOff0.01.c.:ii.dn......                                                                                   a„
                                               iio .,, 0.:.e'p -:.i;i00. .::s)ri&lo....y:::liqo.",:'::b.si •ciay:,:4.ii il',..'67::::s
              ne;i6 will ensure showers are opened at                  cursandwiII::secure:aiJ:=showers
                     ours or in accordance with Menta                  Aft
          Anytime staff of the opposite sex as the offender population enters an offender living
          area they must announce their presence on the unit.




                                                                                            MTC 001478
     Case 3:22-cv-00294-HTW-LGI                   Document 151-21             Filed 08/11/23          Page 12 of 16



                                                                                           Page 12 of 14
                                EAST MISSISSIPPI
                                                                                           POST TITLE:
                                CORRECTIONAL                                               Unit 7 Acute Care
                                FACILITY                                                   Unit
                                                                                           SITE LOCATION:
                                POST ORDERS                                                East Mississippi
                                                                                           Correctional Facility


      POST ORDERS #24                                   ACA PRACTICE(S): 5-AC1-3A-03,
                                                        5-ACI-3A-04, 5-AC1-3A-05, 5-ACI-3A-06,
      EFFECTIVE DATE: 12-10-20                          5-ACI-3A-08, 5-ACI-3A-09
      REVIEW DATE: 12-10-20


                                             ACUTE UNIT-SCHEDULE
  TIME        Monday          Tuesday         Wednesday        Thursday          Friday        Saturday         Sunday
7:00-7:15      COUNT           COUNT            COUNT           COUNT           COUNT           COUNT           COUNT
              Breakfast       Breakfast        Breakfast       Breakfast       Breakfast       Breakfast       Breakfast
7:15-8:00
             and Pill Call   and Pill Call    and Pill Call   and Pill Call   and Pill Call   and Pill Call   and Pill Call
              Showers         Showers          Showers         Showers         Showers          Showers        Showers
8:00-9:00     and Cell        and Cell         and Cell        and Cell        and Cell         and Cell       and Cell
              Cleaning        Cleaning         Cleaning        Cleaning        Cleaning         Cleaning       Cleaning
                                 cou
9:00-10:00
                                                                 Mdiial
                                drita           ontac           ontacts         -ddt4d8.
  10:00-
               COUNT           COUNT            COUNT           COUNT           COUNT           COUNT           COUNT
  10:15

                             Treatment
                               Team




                                                                                                    MTC 001479
Case 3:22-cv-00294-HTW-LGI         Document 151-21    Filed 08/11/23   Page 13 of 16



  ---,7,--_--,-, ------.::,,,--,                              Page 13 of 14
        EAST MISSISSIPPI
                                                              POST TITLE:
  MTCCORRECTIONAL                                             Unit 7 Acute Care
0       FACILITY                                              unit
                                                              SITE LOCATION:
        POST ORDERS                                           East Mississippi
                                                              Correctional Facility


 POST ORDERS #24                      ACA PRACTICE(S): 5-ACI-3A-03,
                                      6-ACI-3A-04, 6-AC1-3A-05, 6-AC1-3A-06,
 EFFECTIVE DATE: 12-10-20             5-ACI-3A-08, 5-AC1-3A-09

 REVIEW DATE: 12-10-20




                                                                       MTC 001480
Case 3:22-cv-00294-HTW-LGI   Document 151-21    Filed 08/11/23   Page 14 of 16



                                                         Page 14 of 14
                      EAST MISSISSIPPI
 ,-,
       MTC
                                                        POST TITLE:
                      CORRECTIONAL                      Unit 7 Acute Care
                    , FACILITY                          Unit
,                                                       SITE LOCATION:
Matlik--ea-l-sli_22-2 POST ORDERS                       East Mississippi
                                                        Correctional Facility


 POST ORDERS #24                ACA PRACTICE(S): 5-ACI-3A-03,
                                5-ACI-3A-04, 5-AC1-3A-05, 5-ACI-3A-06,
 EFFECTIVE DATE: 12-10-20       5-AC1-3A-08, 5-ACI-3A-09
 REVIEW DATE: 12-10-20




           REVIEWED &
            ISSUANCE
           APPROVED          NI
                             NAM                                      ATE

                             WARDEN, EMCF




                                                                 MTC 001481
 Case 3:22-cv-00294-HTW-LGI   Document 151-21     Filed 08/11/23    Page 15 of 16
     Management
     &Training .                    'East Mississippi Correctional Facility
     Corporation
             Daily Post Order Acknowledgement
SIGNATURE VERIFIES THESE POST ORDERS HAVE BEEN READ ON THE DATE THE .
                  STAFF WAS ASSIGNED TO THIS POST.

   Date             Shift




/0 -q- zA
  kgeei—




                                                                   MTC 001482
                                                             Revised 4/1/2017
       Case 3:22-cv-00294-HTW-LGI    Document 151-21     Filed 08/11/23    Page 16 of 16
Frt.-7:yr,                     !•,
             Management
             &Training .                   'East Mississippi Correctional Facility
             Corporation
                   Daily Post Order Acknowledgement
     SIGNATURE VERIFIES THESE POST ORDERS HAVE BEEN READ ON THE DATE THE ,
                       STAFF WAS ASSIGNED TO THIS POST.

         Date              Shift                       Staff Signature




                                                                          MTC 001483
                                                                    Revised 4/1/2017
